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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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WELLS FARGO BANK, N.A.                                         :
                                                               : Civil Action No.: 1:20-cv-05455
                           Plaintiff,                          :
                                                               :
                    -against-                                  : AMENDED PROPOSED
                                                               : DEFAULT JUDGMENT
                                                               :
STARX MOTORS LLC, JEAN S. SMITH,                               :
BENJAMIN SCHRAGE, JACQUES A.                                   :
HORN, GENE T. OLIVER, MICHAEL A.                               :
CHAVEZ and JACQUELINE CHAVEZ                                   :
                                                               :
                           Defendants.                         :
---------------------------------------------------------------x


        This action having been commenced on July 15, 2020 by Plaintiff Wells Fargo Bank, N.A.

(“Wells Fargo”), a copy of the summons and complaint having been served on Defendant Starx

Motors LLC (“Starx Motors”) by personally serving Starx Motors through its registered agent on

September 17, 2020, proof of service having been filed on October 9, 2020, Starx Motors not

having answered the Complaint, and Starx Motors’ time for answering the Complaint having

expired on October 8, 2020, the Clerk having entered default against Starx Motors on October 20,

2020; a copy of the summons and complaint having been served on Defendants Jacqueline Chavez

and Michael A. Chavez (the “Chavezes”) by personally serving the Chavezes on August 15, 2020,

proof of service having been filed on September 1, 2020, the Chavezes not having answered the

Complaint, and the Chavezes time for answering the Complaint having expired on September 8,

2020, the Clerk having entered default against the Chavezes on October 20, 2020; and Wells Fargo

having made a separate motion (ECF No. [47], the “Wells Fargo Interpleader Motion”) requesting

that the Court issue an Order directing the Clerk of Court to accept the interpleader funds in the

amount of $64,151.21 (the “Restrained Proceeds”) less Wells Fargo’s reasonable attorney’s fees



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and costs, the Court having entered an order dated January 3, 2021 directing Wells Fargo to submit

its proposed attorneys’ fees and costs and then resubmit the proposed default judgment, and Wells

Fargo having submitted its proposed attorneys’ fees in the amount of $6,269.00 costs in the amount

of $1,667.00 for a total of $7,936.00, and it is hereby


ORDERED that Wells Fargo has judgment against Defendants Starx Motors and the Chavezes;

and it is further


ORDERED that upon the deposit of the subject Restrained Proceeds less Wells Fargo’s reasonable

attorney’s fees and costs, in the net amount of $56,215.21, as permitted under applicable law and

the Wells Fargo Deposit Agreement, Wells Fargo will be dismissed from this action.




Dated: New York, New York                             __________________________________
       January __, 2021                                  HON. ALVIN K. HELLERSTEIN, USDJ




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